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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



UNITED STATES OF AMERICA,                   :
                                            :
                                            :
v.                                          :            CASE NO. 8:07-cr-521-T-30EAJ
                                            :
FRANCES CROPPER,                            :
  a/k/a FRANCES MITCHELL                    :



                            FORFEITURE MONEY JUDGMENT

       THIS CAUSE comes before the Court on motion of the United States for entry of a

Forfeiture Money Judgment as to defendant Frances Cropper (Dkt. #92). The Court, being

fully advised in the premises, finds that as a result of the mail fraud offense, in violation of

18 U.S.C. § 1341, for which the defendant has been found guilty as charged in Count Two

of the Superseding Indictment, defendant Frances Cropper obtained proceeds in the

amount of $ 200,00 USD. Accordingly, it is hereby

       ORDERED, ADJUDGED, and DECREED that the United States’ motion (Dkt. #92)

is GRANTED.

       It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §

2461(c), and Fed. R. Crim. P. 32.2(b)(2), defendant Frances Cropper is jointly and

severally liable, along with defendant Fred Tokarsky, to the United States of America for

a forfeiture money judgment in the amount of $ 200,000 USD, which represents the amount

of proceeds the defendant obtained as a result of the violations of 18 U.S.C. § 1341, for

which the defendant has been convicted as charged in Count Two of the Superseding
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Indictment.

        The court retains jurisdiction to enter any orders necessary for the forfeiture and

disposition of any property the government may seek as substitute assets, pursuant to 21

U.S.C. § 853(p) [incorporated under the provisions of 28 U.S.C. § 2461(c)], in satisfaction

of such money judgment.

        DONE and ORDERED in Tampa, Florida on November 4, 2008.




Copies furnished to:
Counsel/Parties of Record

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